                                    Exhibit 6D
                    Excerpts from Deposition of Kenneth Buckfire




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                                  In The Matter Of:

                                      City of Detroit




                                    Kenneth Buckfire
                                    August 29, 2013




                                Original File BUCKFIRE_KENNETH.txt
                             Min-U-Script® with Word Index

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 1                           UNITED STATES BANKRUPTCY COURT

 2                      FOR THE EASTERN DISTRICT OF MICHIGAN

 3                                   SOUTHERN DIVISION

 4

 5    In Re:

 6

 7    CITY OF DETROIT, MICHIGAN               Chapter 9

 8                                            Case No.13-53846

 9                          Debtor.                  Hon. Steven Rhodes

10                                                          /

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12

13             The Video Deposition of KENNETH BUCKFIRE,

14             Taken at 1114 Washington Boulevard,

15             Detroit, Michigan,

16             Commencing at 9:31 a.m.,

17             Thursday, August 29, 2013,

18             Before    Nora Morrissy, RMR, CRR, CSR-2642.

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 1             sometimes you will anticipate probably where I'm going

 2             with the question or think that you anticipate, I

 3             would ask that you to make the transcript clearer, I

 4             will ask that you wait until I complete the question

 5             before you begin your answer.

 6    A.       Thank you.

 7    Q.       Before you is what's been premarked as Deposition

 8             Exhibit 1, and I assume you have seen this document

 9             before, is that correct?

10    A.       No.

11    Q.       No.    Okay.     And it is the notice of deposition that

12             was issued that we are proceeding under today.                      I'd

13             like to discuss initially with you the topics about

14             which you plan to testify at the hearing on the motion

15             to assume the forbearance and optional termination

16             agreement and prove the settlement therein.

17                             Do you have in mind the topics that you

18             intend to testify at the hearing?

19    A.       Yes.

20    Q.       And can you provide those to me?

21    A.       The reason and purpose of the negotiation with the

22             Swap counterparties and the results thereof as

23             determined in the forbearance agreement itself, the

24             financial condition of the City that led us to believe

25             that this agreement was necessary to rehabilitate the




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 1             City.   Prepared to testify to the general condition of

 2             the City's financials leading up to the execution of

 3             the forbearance agreement.

 4    Q.       Are there any other topics that you intend to testify

 5             at the hearing concerning the forbearance agreement?

 6    A.       I'll testify at that point to the status of the DIP

 7             form process that will provide the financing to

 8             execute the City's option under the forbearance

 9             agreement to retire the Swaps.

10    Q.       Are there any other topics that you have not mentioned

11             in your answers that you intend to testify about?

12    A.       I'm sure there will be other things but I can't recall

13             at this time what they might be.

14    Q.       Mr. Buckfire, what is your position with Miller

15             Buckfire?

16    A.       Co-founder and co-president of Miller

17             Buckfire & Company.

18    Q.       Miller Buckfire currently is employed as the financial

19             advisor to the City of Detroit, correct?

20    A.       As the investment banker to the City, that's correct.

21    Q.       And when was Miller Buckfire first engaged by the City

22             as investment banker?

23    A.       We were first engaged in July of 2012 for a 60-day

24             review of the City's financial condition.                  We were

25             re-engaged on January 8th of this year to continue to




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 1             advise the City on its financial condition and

 2             financial alternatives.           Both were -- were hired

 3             pursuant to an RFP process to which we submitted a

 4             proposal.

 5    Q.       When you were hired in July 2012, can you describe the

 6             scope of services that Miller Buckfire was engaged to

 7             provide?

 8    A.       As I mentioned earlier, we were engaged to do a

 9             general financial review of the City's financial

10             condition particularly with respect to its ability to

11             service its debt obligations.

12    Q.       Were there specific tasks that you were asked to

13             perform in connection with doing a general financial

14             review of the debt obligations?

15    A.       No, we were engaged to do a general financial review

16             and advise the mayor and the chief financial officer

17             as to what those financial conditions implied for the

18             City's ability to operate in the ordinary course.

19    Q.       That engagement began in July 2012 is what you

20             testified to, is that correct?

21    A.       Correct, and ended on August 31st.

22    Q.       Very good.     I would point out that I would ask you to

23             wait until I ask the question, though.

24                           Miller Buckfire was then re-engaged on

25             January 8th of 2013, is that correct?




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